         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL NO. 1:06CR31


UNITED STATES OF AMERICA                )
                                        )
                                        )
                 VS.                    )             ORDER
                                        )
                                        )
MICHAEL RICHARD ROSE                    )
                                        )
                                        )


      THIS MATTER is before the Court sua sponte to continue the

sentencing hearing scheduled for Wednesday, February 28, 2007, at 2:00

PM.

      IT IS, THEREFORE, ORDERED that the sentencing hearing

scheduled herein is continued to the Court’s next sentencing term.

                                    Signed: February 22, 2007




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